Case 18-80337 Document 46 Filed in TXSB on 06/20/19 Page 1 of 1

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

GALVESTON DIVISION
IN RE: § CASE NO. 18-80337-G1-7
§
Jamie Dale Teague, § (CHAPTER 7)
Sarah Frost Teague, §
§
§ RESIGNATION OF TRUSTEE
Debtors § (NO ADMINISTRATION)

I, JANET NORTHRUP, TRUSTEE, hereby resign as trustee of the above entitled and
numbered proceeding. I have neither received any property nor paid any money on
account of this estate.

Respectfully submitted,

Dated: June 19, 2019 _/s/ Janet Northrup*
Janet Northrup, Trustee
SBN 03953750
Total Plaza
1201 Louisiana, 28" Floor
Houston, Texas 77002
(713) 759-0818 Telephone
(713) 759-6834 Facsimile

jsn@hwa.com
CERTIFICATE OF REVIEW

The United States Trustee has reviewed and approved the foregoing report for
compliance with Title 11.

United States Trustee
Region?

Dated: ltpe (4, Lod By: if, bpp kt (bh MA

i Assistant U.S. Trustee

 

* Signed with permission
